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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11
12    Ernest DYKES,                                              Case Number 3-11-cv-4454-SI

13                                 Petitioner,                   DEATH-PENALTY CASE

14                      v.                                       ORDER GRANTING
                                                                 PETITIONER’S MOTION FOR
15    Kevin CHAPPELL,1                                           EQUITABLE TOLLING
      Acting Warden of San Quentin State Prison,
16
                                   Respondent.                   [Doc. No. 7]
17
18           Petitioner is a condemned inmate at San Quentin State Prison. He initiated the present

19   capital habeas action on September 7, 2011, when he asked the Court to appoint counsel and to stay

20   his execution pending the completion of this action. (Doc. No. 1.) That same day, the Court granted

21   Petitioner’s requests and referred the matter to the Court’s Selection Board for the recommendation

22   of counsel to represent him. (Doc. No. 3.) However, the Court was unable to appoint counsel until

23   December 21, 2011. (Doc. No. 6.)

24           A one-year statute of limitations applies to federal habeas petitions filed by state prisoners.

25   28 U.S.C. 2244(d) § (2012). The parties agree that the limitation period for Petitioner began to run

26   when the Supreme Court of California denied Petitioner’s initial state habeas petition. (Doc. No.

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             1
              Kevin Chappell is automatically substituted for his predecessor pursuant to Federal Rule of
28   Civil Procedure 25(d).


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 1   7 at 3–4; Doc. No. 10 at 3.) This occurred on August 31, 2011; accordingly, absent equitable
 2   tolling, the limitation period will expire on August 31, 2012.2
 3              Petitioner’s Motion for Equitable Tolling is pending. (Doc. No. 7; see also Doc. No. 11.)
 4   Petitioner seeks equitable tolling until the date of counsel’s appointment so that his counsel may
 5   have one year to prepare a finalized petition.3 Respondent opposes Petitioner’s Motion. (Doc. No.
 6   10.)
 7              The Supreme Court of the United States has held that “the timeliness provision in the federal
 8   habeas corpus statute is subject to equitable tolling.” Holland v. Florida, 560 U.S. ___, 130 S. Ct.
 9   2549, 2554 (2010). A federal habeas petitioner “is entitled to equitable tolling only if he shows (1)
10   that he has been pursuing his rights diligently, and (2) that some extraordinary circumstance stood
11   in his way and prevented timely filing.” Id. at 2562 (internal quotation marks omitted).
12              The present Petitioner has pursued his rights diligently. He initiated the present action and
13   invoked his right to counsel a mere seven days after the statute of limitations began to run.4 See,
14   e.g., Hoyos v. Wong, No. 3-9-cv-388-L-NLS, 2010 WL 596443, at *5 (S.D. Cal. Feb. 16, 2010);
15   Pollock v. Martel, No. 4-5-cv-1870-SBA, 2012 WL 174821, at *2 (N.D. Cal. Jan. 20, 2012).
16              An indigent capital habeas petitioner has a statutory right to counsel. 18 U.S.C. § 3599(a)(2)
17   (2012). “[T]he right to appointed counsel includes a right to legal assistance in the preparation of
18   a habeas corpus application.” McFarland v. Scott, 512 U.S. 849, 856 (1994). An attorney’s
19   assistance in preparing a capital habeas petition is crucial owing to the complex nature of capital
20   habeas proceedings and the seriousness of the death penalty. Id. at 855–56. In particular, “the right
21   to counsel necessarily includes a right for that counsel meaningfully to research and present a
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23              2
                    Petitioner mistakenly uses the dates September 1, 2011, and September 3, 2012. (See Doc. No.
     7 at 4.)
24
                3
               In capital habeas actions, “[t]he term ‘finalized petition’ shall refer to the petition filed by
25
     retained or appointed counsel. . . .” Habeas L.R. 2254-28(a).
26              4
               Petitioner would have been on firmer ground if he had initiated federal proceedings while his
27   state appeal was pending, as the Court might have found Petitioner to have been dilatory if his entire state
     habeas petition had been deemed untimely. Cf. Chatman v. Chappell, No. 3-7-cv-640-WHA, 2012 WL
28   2916538, at *1 (N.D. Cal. July 17, 2012).

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 1   defendant’s habeas claims.”5 Id. at 858. Accordingly,
 2                    a capital habeas petitioner is generally entitled to equitable tolling
                      during the time that a court is seeking counsel to represent the
 3                    petitioner because the lack of appointed counsel is an extraordinary
                      circumstance that often makes it impossible for a petitioner to file an
 4                    otherwise timely petition that has been prepared with the assistance
                      of counsel.
 5
     Stanley v. Martel, No. 3-7-cv-4727-EMC, slip op. at 2 (N.D. Cal. July 26, 2011) (Order Granting
 6
     in Part & Den. in Part 2d Mot. for Equitable Tolling) (internal quotation marks and citation omitted);
 7
     see also, e.g., Jablonski v. Martel, No. 3-7-cv-3302-SI, slip op. at 2–3 (N.D. Cal. Sept. 9, 2011)
 8
     (Order Granting Motion for Equitable Tolling); San Nicolas v. Ayers, No. 1-6-cv-942-LJO, 2007
 9
     WL 763221, at *6 (E.D. Cal. Mar. 9, 2007). Indeed, it is frequently the case that, were a court to
10
     hold otherwise, “a capital habeas petitioner’s right to counsel would be thoroughly eviscerated.”
11
     Smith v. Ayers, No. 3-4-cv-3436-CRB, slip op. at 3 (N.D. Cal. Jan. 8, 2009).
12
             However, this general principle does not mean that a grant of equitable tolling is automatic
13
     in capital habeas actions in which counsel is not promptly appointed, for “often the exercise of the
14
     court’s equity powers must be made on a case-by-case basis.” Holland, 130 S. Ct. at 2554. When
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     deciding whether equitable tolling is appropriate in a particular action, courts consider the
16
     particularities of the action, such as its complexity and the petitioner’s diligence, in addition to the
17
     general right to counsel. For example, in Smith, the court granted equitable tolling in consideration
18
     of the complexity of the matter in conjunction with the capital habeas petitioner’s right to counsel.
19
     Slip op. at 2.
20
             A review of the present matter demonstrates that it has an extremely voluminous record and
21
     is extraordinarily complex. Considering the size and complexity of the record along with
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     Petitioner’s right to the assistance of counsel in preparing a petition, the Court finds that Petitioner
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             5
               Respondent asserts that “[c]ounsel is not required” to prepare a capital habeas petition because
25
     “[d]oing so may require nothing more than photocopying.” (Doc. No. 10 at 4.) The case Respondent
26   cites, Duncan v. Henry, 513 U.S. 364 (1995), merely held that a habeas petitioner did not exhaust a claim
     where the petitioner did not inform the state courts that he was asserting a violation of the United States
27   Constitution. There is, in fact, no support for Respondent’s contention, which is directly contrary to
     McFarland, 512 U.S. at 855–59. Respondent’s discussion of noncapital habeas petitioners is inapposite,
28   as they do not have a right to counsel to prepare their petitions.

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 1   will require at least a year from counsel’s appointment to prepare and to file a finalized petition,
 2   which is the petition that he is statutorily entitled to file. The Court accordingly concludes that the
 3   prolonged lack of appointed counsel stands in Petitioner’s way and prevents the timely filing of a
 4   finalized petition.
 5           In short, Petitioner has been pursuing his rights diligently, and the significant delay in
 6   appointing counsel stands in Petitioner’s way and prevents timely filing of a finalized petition.
 7   Petitioner is therefore entitled to equitable tolling of the statute of limitations.
 8           Accordingly, the Court grants Petitioner’s Motion for Equitable Tolling, (Doc. No. 7).
 9   Unless he is able to demonstrate a need for additional equitable tolling, cf. Hughes v. Brown, No.
10   3-3-cv-2666-JSW (N.D. Cal. June 23, 2004) (Order Granting Pet’r’s 2d Appl. for Equitable Tolling),
11   Petitioner shall file his finalized petition on or before December 21, 2012.
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13           IT IS SO ORDERED.
14
15   DATED: August 28, 2012                                  __________________________________
                                                             SUSAN ILLSTON
16                                                           United States District Judge
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